              Case 8-18-72852-reg              Doc 2-1       Filed 04/26/18          Entered 04/30/18 09:27:50


                                                     Notice Recipients
District/Off: 0207−8                         User: csmall                        Date Created: 4/30/2018
Case: 8−18−72852−reg                         Form ID: 763                        Total: 3


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Doreen Hoffman         163 Roe Avenue          Patchogue, NY 11772
aty         John Fazzio       Fazzio Law         26 Broadway          21st Floor     New York, NY 10004
smg         United States Trustee       Office of the United States Trustee      Long Island Federal Courthouse   560
            Federal Plaza       Central Islip, NY 11722−4437
                                                                                                                  TOTAL: 3
